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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
21-10158-MLW
                                UNITED STATES OF AMERICA


                                                  v.

                       ITALLO FELIPE PEREIRA DE SOUSA CORREA
                                 JULIO VIEIRA BRAGA

                               ORDER PURSUANT TO
                      FEDERAL RULE OF CRIMINAL PROCEDURE 5

                                         September 1, 2021

DEIN, U.S.M.J.

       In compliance with the Due Process Protections Act, the Court issues the following Order.

Consistent with Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, the United States is

ordered to disclose all exculpatory information, in a timely manner, to the defendant. This

information includes, but is not limited to, evidence that is material and is favorable to the accused.

Specific categories of exculpatory evidence that must be provided to the defense are set out in

Local Rule 116.2. The failure to discharge this obligation may result in consequences, including

the reversal of any conviction, exclusion of evidence, adverse jury instructions, dismissal of

charges, contempt proceedings, and/or sanctions by the Court.

So Ordered.


                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE
